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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  ENTROPIC COMMUNICATIONS, LLC,

                 Plaintiff,
                                                                Case No. 2:22-cv-00125-JRG
         v.

  CHARTER COMMUNICATIONS, INC.,

                 Defendant.


              AGREED MOTION TO AMEND DOCKET CONTROL ORDER

        Plaintiff Entropic Communications, LLC, with Defendant Charter Communications, Inc.’s

 agreement, hereby moves to amend the Docket Control Order (Dkt. 40), in its current form of the

 Third Amended Docket Control Order (Dkt. 89), to extend the deadline to complete expert

 discovery by fourteen (14) days, to extend the deadline for Dispositive Motions and Motions to

 Strike Expert Testimony and the corresponding responses by fourteen (14) days, and to extend the

 deadline for Pretrial Disclosures and the corresponding responses by ten (10) days.

        Good cause exists for these extensions due to the need to incorporate information from

 recent discovery, both party and third-party, into supplemental expert reports and the expert

 discovery schedule (see Dkt. 138 (approving certain out-of-time discovery)).          Considerable

 discovery has occurred since opening expert reports were served, including the production of over

 12,000 documents by Charter, two 30(b)(6) depositions of Charter witnesses, a deposition of third-

 party Broadcom, and documents produced by third parties Broadcom, Vantiva, and Ubee (the

 parties expect Ubee’s production will occur today or tomorrow). This extension will allow the

 parties to agree on a comprehensive expert supplementation and discovery schedule that allows

 both sides to address or rebut necessary issues and still present timely dispositive motions or



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 motions to strike to the Court on a briefing schedule that will close several weeks in advance of

 the October 30, 2023 pretrial conference. Specifically, the parties have agreed that Entropic’s

 damages expert Stephen Dell will supplement his expert report no later than August 28, 2023, and

 that Charter’s damages expert Christopher Bakewell will supplement his expert report in rebuttal

 at a date to be agreed upon after Entropic’s supplemental report is served, but to be served with

 sufficient time to complete expert discovery under the schedule contained in this motion. Lastly,

 the parties have agreed that Entropic may serve a five (5) page supplemental report on infringement

 from Dr. Shukri Souri as to the ’008 Patent based on testimony from third-party Broadcom on

 August 16, 2023 and that Charter’s expert Dr. Kevin C. Almeroth will supplement his rebuttal

 report at a date to be agreed upon after Entropic’s supplemental report is served. Charter reserves

 the right to move to strike Mr. Dell’s supplementation and Dr. Souri’s supplementation as untimely

 or because Entropic failed to disclose its position in fact discovery. This proposed amendment

 avoids what would otherwise likely be competing opposed motions for leave or to strike

 supplementation occasioned by the recent fact discovery. The amendment to the pretrial disclosure

 deadlines also allow the parties to complete pretrial disclosures reasonably after dispositive

 motions are filed, but sufficiently in advance of the pretrial conference to appropriately narrow

 pretrial disputes before presentation to the Court.

        This extension will not affect any of the other remaining deadlines or the trial date in this

 action. Counsel for the Parties have conferred on this extension and are in agreement.

        Accordingly, the Parties respectfully request that the Court amend its Docket Control Order

 to extend the deadline to complete expert discovery by fourteen (14) days, to extend the deadline

 for Dispositive Motions and Motions to Strike Expert Testimony and the corresponding responses

 by fourteen (14) days, and to extend the deadline for Pretrial Disclosures and the corresponding




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 responses by ten (10) days. These extensions are reflected in the proposed Amended Docket

 Control Order submitted herewith.



 Dated: August 23, 2023                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who are

 deemed to have consented to electronic service on this the 23rd day of August, 2023.

                                                    /s/ James Shimota
                                                    James Shimota




                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies pursuant to Local Rule CV-7(i) that the relief requested

 in this motion is agreed.

                                                    /s/ James Shimota
                                                    James Shimota




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